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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                            )      CASE NO. 1:06CR594-11
                                                    )
                 Plaintiff,                         )      JUDGE ANN ALDRICH
                                                    )
            v.                                      )      Magistrate Judge Hemann
                                                    )
WILLIAM BUTTRAM                                     )
                                                    )      ORDER
                                                    )
                 Defendant.                         )




        Before this court is the Report and Recommended Decision (the “R&R”) of Magistrate

Judge Hemann. [Document No.707] recommending the court accept the stipulation of the

violations and agreed modified terms of release. No objections to the Report and

Recommendation were filed. The Report and Recommendation is hereby ADOPTED in its

entirety.

        IT IS SO ORDERED.




                                                    s/Ann Aldrich
                                                    ANN ALDRICH
                                                    UNITED STATES DISTRICT JUDGE


Dated: September 7, 2007




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